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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                     CV 23-12-BLG-KLD
                        Plaintiff,

  vs.                                                 ORDER

  SHERRY GAIRRETT,

                        Defendant.


        The parties have filed a joint stipulation of dismissal of this matter pursuant

to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Doc. 61). Accordingly, and

good cause appearing,

        IT IS ORDERED that the above-captioned matter is dismissed with

prejudice, each party to bear their own costs and fees. The Clerk of Court is

directed to close this case.

              DATED this 2nd day of May, 2025.


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                                                Kathleen L. DeSoto
                                                United States Magistrate Judge
